             IN THE UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF MISSOURI
                           WESTERN DIVISION

 UNITED STATES OF AMERICA,
                                                Case No.:
                              Plaintiff,        COUNT ONE:
                                                Drug User in Possession of a Firearm and
        v.                                      Ammunition
                                                18 U.S.C. §§ 922(g)(3) and 924(a)(2)
 ZORAM SEPULVEDA,                               NMT: 10 Years Imprisonment
 [DOB: 12/21/1988]                              NMT: $250,000 Fine
                                                NMT: 3 Years Supervised Release
                              Defendant.        $100 Mandatory Assessment
                                                Class C Felony

                                                COUNT TWO:
                                                Possession of a Machine Gun
                                                18 U.S.C. §§ 922(o) and 924(a)(2)
                                                NMT: 10 Years Imprisonment
                                                NMT: $250,000 Fine
                                                NMT: 3 Years Supervised Release
                                                $100 Mandatory Assessment
                                                Class C Felony

                                                COUNT THREE:
                                                Possession of a Controlled Substance
                                                21 U.S.C. § 844(a)
                                                NMT: 1 Year Imprisonment
                                                NLT: $1,000 Fine
                                                NMT: 1 Year Supervised Release
                                                $25 Mandatory Assessment
                                                Class A Misdemeanor

                                     INDICTMENT

       THE GRAND JURY CHARGES THAT:

                                           COUNT ONE

       On or about June 28, 2019, in the Western District of Missouri, defendant Zoram

Sepulveda, then being an unlawful user of a controlled susbance as defined in 21 U.S.C. § 802,

and then knowing he was an unlawful user of a controlled substance, knowingly possessed, in and
affecting interstate commerce, firearms and ammunition, to wit: an unknown make and model

revolver; a Glock 23, .40 caliber automatic pistol, Serial Number LBA626, loaded with 12 rounds

of TulAmmo .40 caliber ammunition; and an extended Glock magazine containing 16 rounds of

Federal and 1 round of TulAmmo .40 caliber ammunition, all in violation of Title 18, United States

Code, Sections 922(g)(3) and 924(a)(2)

                                           COUNT TWO

       On or about June 28, 2019, in the Western District of Missouri, defendant Zoram Sepulveda

knowingly possessed a machine gun, that is, a Glock 23, .40 caliber automatic pistol, bearing Serial

Number LBA626, in violation of Title 18, United States Code, Sections 922(o) and 924(a)(2).

                                         COUNT THREE

       On or about June 28, 2019, in the Western District of Missouri, defendant Zoram

Sepulveda, knowingly and intentionally possessed a quantity of a mixture or substance containing

a detectable amount of methamphetamine, a Schedule II controlled substance, contrary to the

provisions of Title 21, United States Code, Section 844(a).

                                                     A TRUE BILL.


7/16/19                                              /s/ Harry Dixon
DATE                                                 FOREPERSON OF THE GRAND JURY


/s/ Robert M. Smith
Robert M. Smith
Special Assistant United States Attorney
Violent Crime & Drug Trafficking Unit
Western District of Missouri




                                                 2
